4/2017

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

Robert Joseph Benge

(Plaintiff or Petitioner)

 

FOR PRISONERS ONLY

Declaration and Request to
V. Proceed In Forma Pauperis

Randolph Cosnty, et al 7

(Defendant(s) or Respondent(s))/

L, Kp be . / Jos C Ph B CAGE, declare that I am the plaintiff or petitioner in the

above-entitled case: that in support ofhy motion to proceed without being required to prepay
fees, costs, or give security therefore, I state that because of my poverty I am unable to pay the

costs of said proceeding or to give security therefore, that I believe I am entitled to redress.

Name ohert SosePh B CNGEe

Name under which convicted (If different from above): 4 ame

Date of birth: Septem ber L, | G LO

Your Prison Numberis: | AZ [9

Address of current place of incarceration: /\ S p c - peson | ui nches ter
10002. UWilmont Kol P.0.Box 3 W4or Tucson AZ 8573y

The total deposits to my Trust Account for the last six (6) months are!: § | . y 5

The present balance of my Trus Account is: 0
("See AHtached month Print -ovy") ,

 

 

' If you have been in more than one institution in the last six (6) months and are unable to accurately determine
deposits in prior institutions, provide the Court with your best good faith estimate. The Court will, at a later date,
get the ledger cards from those prior institutions and make any needed corrections.

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1. Are you presently employed? Yes NoX_

a. Ifthe answer is “Yes”, state the amount of your salary or wages per month, and
give the name and address of your employer.

 

b. Ifthe answer is “No”, state the date of last employment and amount of the salary

and wages per month which you received. ( A i ) | qu ncl¢ p oct e (

A5¢ an Nose month | p3a.00_ 20/6 Apri] :

2. List anyone who helps support you or shares sup

port in any way and describe the type
and amount of support for the last twelve (12) months. (If no one, write “No One.”’)

My Sister Memory Robertson | housing, food

asic Necessities | No Casn.

_ 3. Have you received within the
following sources?

 

past twelve (12) months any money from any of the

a. Business, profession, or form of self-employment? Yes No V
b. Rent payments, interest or dividends? Yes__ No/
c. Pensions, annuities or life insurance payments? Yes No uy,
d. Gifts or inheritances? Yes Oo yy
e. Social Security, SSI or disability? vaSy Ne

f. Workers’ Compensation or Unemployment? yee Noy?
g. AFDC, WIC, or Food Stamps? Yes\/ No__
h. Any other sources? Yes No

If the answer to any of the above is “Yes”, describe each source of money and state
the amount received from each during the past twelve (12) months.

SST Disability $ 7-35 °° monthly fm 08/01/4017

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account other than a prison account? es No
do(Kel .
oe If the answer is “Yes”

, describe the account, its location, and the total value of each
amount.

 

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5. Do you own any real estate, stocks, bonds, notes, automobiles or other valuable property
(excluding ordinary household furnishings and clothi g)? Yes¥ No

T was,Pa ing monthly Pa Ment § fer a adIL Jeep bank,

If the er is Yes”, describe and state its approximate value. (Separately

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6. List persons who are dependent upon you for support, state your relationship to those
persons and indicate how much you actually contributed toward their support in the last
roe (12) months.

"No one"

 

 

I Bo he Te J os c 0h Benge, declare under penalty of perjury that all the foregoing

is complete, true and correct.

Aug Ust Il, do8 =f DobQ., Aung

(Date) (Signature of Plaj infift or Petitionery/)

 

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You Discussed This With Institution S tt? O ¥en

 

 

 

 

 

 

 

 

 

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: give the staff member's name: = a .

 

 

scfpline Concerning this erha propriate ty arks written
Sipline pursuant to Department Order 893, fn loauate Disciotinany Prose will not be tolerated “aan wmenl ae sro aa re
@ Correspondance

fon: Original — Master Fite

Copy - Inmate RE EIVED

DATE: OG - B= JF sno?

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CENTRAL OFFICE |
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ARIZONA DEPARTMENT OF CORRECTIONS
INMATE TRUST ACCOUNTS OFFICE

CERTIFIED STATEMENT OF ACCOUNT

BENGE, ROBERT J.

As of April 25, 2018
balanceof $0.00 in his/her trust accou
monthly spendable/retention balance was
inmate's account during this time was

, the above named inmate

$9.45

Account statements for the previous six months are as follows:

# 137719

had a spendable and retention amount
nt. During the past six months, the inmate's
$0.00 and the average monthly deposit to the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

average

Spendable Amount] Total Deposits
IST MONTH NA NA
2ND MONTH NA NA
3RD MONTH $0.00 $37.79
4TH MONTH $0.00 $0.00
STH MONTH $0.00 50.00
6TH MONTH $0.00 $0.00
TOTAL $0.00 $37.79
AVERAGE $0.00 $9.45
Signature of Authorized Employee April 25, 2018

basa houston Lapin) 5.208
ASPC- CSON

Per Department Order 905-T

Service charge of $.25 per page for 4 pages: $1.00 due.

Original - Inmate Copy 1 - Institution Inmate Trust Accounts Copy 2 - Central Office Inmate Trust Accounts

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06601 Stoz/so/so

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Cava TWOYT - saidoD STO¢/Zz/tO zo0oo otEe6oT STOz/2z/+ro

~ADITIN- ~~" Sg ETT STOC/UT/FO SbST —E6660T —STOZ/¥T/ FO

AXWH 'TWOE'1 - SOWLSOd STOZ/LT/%0 Toco TTEGOI STOZ/Lt/Pro
EqUL LISTAUSd HLIWEH Stoz/eo/ro Good S6Z601 STC0z/a0/Po
EGWL 'TWOEI - SOVLSOd §10Z/80/%0 tooo €67609 STOz/e0/ro

- ERE “Twos 1T--"sataoo ST02/80/60 ~~ T000" teze0T ~ST0z/B0/¥O =3
EaWL LISIAWGd HLTWAH STOZ/TO/to zooo 982601 STOZ/TO/FrO
EGVL ‘TWOET - SNVLSOd S$ toz/to/Fe tooo PECEOI Stoz/to/ro
fGYL ‘ISSI-NON SGId0D ST0Z/TE/EO tooo 8L7601I STtoOz/TEe/eo
EGVL IWWDST - SaTd0D”§toz/ezy eco” tooo” 89z60T ~Stoz/tz/eo

ALTIIIN SSILITIEN Sloc/tz/eo Lert 6E660t ST0¢/Tz/eo
EqYL IWOS1T - sataoo StOz/OT/EO L000 66FE601 StOz/oT/co
tavL ‘TWO - SdIdOd stoz/ot/eo sooo 66b60T StToz/oTt/eco

— €e¥L Saliddns TWwort—stez/sz/zo £000  6£b60T “Stoz/sz/zo
fevL IWOST - SdIdOD Stoz/ez/zo zooo £9601 Stoz/tz/zo

ALTIIN SSILITIIEN stoz/tz/z0 “Leet 6ésE0T SToz/tz/za

BNL LISIAYSd HLTWAH ST0zZ/az/To Etoo TZ'6E0T STOz/sz/To
| GWE “INSET ="SDvLSOd-—ST0Z/az/T0 2000-6 TE 0T- SlOZ/8z/ 10

€q¥L TIWOST - a35visoda STOz/Tz/To to00 toré6oT Stoz/tz/to
ALIIEN SAHILITIIN Sto0z/zt/to 6t9z 66s607 Sto¢/zt/to
caw. TWOaT - SHIdQD STOZ/ET/TO Toca O6E60T STOZ/ET/TO

fav TWSST =" sovLS0d St0z/zT/TO” ro00 S9eEK60T “Stoc/et/te-———_

 

PISOTO AWIN AdOD 197 few TWOaT - SHIdOD stoz/90/TO tooo EeLEesor ST0z/90/to
OceThtoOe JO SY ALITIO SHILITIIN bloc/oz/Zt sezz 666667 bT02/0z/2T
PIPETTE TWOrIdsH €GW¥L JLISIAWGd HLIVEH bEOZ/TG/ET Tooo ssze6ot bLOC/TO/e2T

bTSTIT Ad0o Ist” ~~ cau “WOT >" Saldoo ¥T0C/6T/TT— 1000 99z60T-"FT02/6T/ TT
STITbIO2 40 SY ALITIO SSILITIIN 10Z/St/IT #TLT 666607 PEOZ/ST/TT
bIEOTT LsOd FDT fOVL ‘TWOS'T - g9vLsod bIOZ/PO/TT Z000 zePreot FLO2/PO/TT
PIEZOT Ls0d WT fGVL LISIAUSd HLTWaH PIOZ/PZ/OT ZO00 PSFSOT PLIOZ/&2/0T

“SPOR SRR Ee RE RES EASE RS ONI'T ‘SIHL MOTHS” TIVLAd “INNOAOV~ aASNaasns *EREREEN PRN CR RES BR

 

SdId0D GaIgILYgS WHONOD TWO - saidoD 8TOZ/ST/TO FOO oossor alod/t2/zo
YALLINSY SDNeusagy adgAL FLVG “ON “ON 31LYq0 LSod
= NOTIOVSNYUL wd lFIIe— WALI HO Lva

*@TO¢/82/70 ~~ SONWIVE “LNSwaNd /ONTONG r .

*STWMVUCHLIIM WLOL 10H 'SALVLS

‘SLISOdSG TWLOL 6TLLET *SOeEWnN

‘stoz/to/zo__—SONVIWa ONTNNIOGa Jf misgou "S0Ngg SMW

NIG I AWS 3-DdSv-pey WSSHEOTE
TNDODOY AO ININTIVIS SLYANI ‘SSONNG TETS0' ST
SNOLLOSYYOD 40 LNaWLuvaga VNOZIUY 8toz/sz/zo

| (g3oF 64
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INMATE NAME:

BENGE, ROBERT J.

 
 

 
 

 
 

 
 

   
  

 

 

ADC # # 137719
ASPC: TUCSON
DATE: ‘April 25, 2018
SPEND/RETENTION: 0:00
BALANCES SP/RETN
ist Month NA 1st Month Spend NA
2nd Month NA Retention 0.00
3rd Month 0.00 als #590)
4th Month 0.00 2nd Month Spend NA
5th Month 0.00 Retention 0.00
6th Month 0.00 total)
Total| ~~ $0.00! 3rd Month Spend 0.00
Retention 0.00
0.00 Sub-total 9)
4 4th Month Spend 0.00
Average| _$0:00) See 0.00
5th Month Spend 0.00
DEPOSITS Retention 0.00
ist Month NA Sub-total 9)
2nd Month NA 6th Month Spend —
3rd Month 37.79 Retention
4th Month 0.00
5th Month 0.00 Total ee)
6th Month 0.00
Total| | $37:79) 0.00
4
37.79 Average | $0100)
4

ene ey

Average $9145)

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QU of bY

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